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 8
                                 UNITED STATES DISTRICT COURT
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                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
      BWB CO., LTD, a Japan limited liability            Case No. 3:23-cv-05917-JD
11
      company
12                                                       PLAINTIFF’S OPPOSITION TO
             Plaintiff,                                  DEFENDANTS’ MOTION TO DISMISS
13                                                       PLAINTIFF’S COMPLAINT FOR
14                          v.                           PATENT INFRINGEMENT

15    ALIBABA GROUP HOLDING LIMITED, a
      Cayman Islands company, ALIBABA                    Date: November 7, 2024
16    GROUP (US) INC., a Delaware company,               Time: 10:00 a.m.
17    ALIBABA CLOUD US LLC, a Delaware                   Judge: Hon. James Donato
      limited liability company, ALIBABA.COM             Courtroom 11; 9th Floor
18    US LLC, a Delaware limited liability
      company,       ALIBABA.COM      US   E-
19    COMMERCE CORP., a Delaware company,                FAC filed: September 12, 2024
20
             Defendants.
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 1   I.      INTRODUCTION
 2           Plaintiff’s amendments in the First Amended Complaint (“FAC”) establish how the
 3   inventions covered by Plaintiff’s patents-in-suit improved upon the mechanics and systems of
 4   prior art cross-border e-commerce services in a manner that was not well-understood, routine, or
 5   conventional. Contrary to the assertions in Defendants’ Motion to Dismiss, the amendments to
 6   the FAC do far more than merely recite the same description of the patents. As part of establishing
 7   the inventive concept embodied in the patents-in-suit, the amendments to the FAC establish that
 8   the overall claimed arrangement of servers and processes is non-conventional and non-generic.
 9   Such amendments clearly establish how the patents-in-suit provide technical improvements over
10   the prior art e-commerce systems, by providing, in combination, separate administration servers,
11   customs clearance authentication servers, and EC servers, with unconventional and non-routine
12   processes to streamline customs processing of goods in cross-border e-commerce, particularly in
13   the ordered presentation of claim elements.
14           Regarding the sufficiency of the infringement allegations in the FAC, the FAC in
15   combination with the claims charts reference information taken directly from Defendants’
16   publicly available websites regarding the servers and processes involved in cross-border e-
17   commerce platforms at issue. These combined references of publicly available information
18   plausibly plead infringement through the implementation of the inventive concepts claimed in the
19   patents-in-suit, namely that the products offered for sale through the e-commerce platforms
20   undergo pre-clearance with customs authorities in destination economic zones before such
21   products are offered for sale. The remaining details are on Defendants’ e-commerce platforms
22   behind password protection and similar “blocking” walls such that the detailed information would
23   only be available through discovery.
24           Regarding the sufficiency of the willfulness allegations in the FAC, Defendant were on
25   constructive notice of the patents-in-suit and aware that their cross-border e-commerce platforms
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     infringed on the same.
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             Based on the foregoing, Defendants’ Motion to Dismiss the FAC should be denied in its
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     entirety.

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 1   II.      FACTUAL BACKGROUND
 2            A.     Plaintiff and the Patents-In-Suit
 3            Plaintiff, on its own and through predecessors, acquired by assignment each of U.S. Patent
 4   No. 10,460,366 (“the ’366 patent”), U.S. Patent No. 11,138,644 (“the ‘644 patent”), U.S. Patent
 5   No. 11,776,027 (“the ‘027 patent”), and U.S. Patent No. 11,776,028 (“the ‘028 patent”)
 6   (collectively, the “patents-in-suit”) from the inventor Ryutaro Nishiura. The Patents-in-Suit are
 7   all directed to embodiments of a commercial transaction system designed to facilitate and improve
 8   customs processing and logistics in commerce crossing multiple economic zones. (Dkt. Nos. 37-
 9   1, 37-3, 37-5, 37-7, Abstracts)
10            B.     Prior Art Ecommerce Systems and Processes
11            The patents-in-suit recognized and the First Amended Complaint presents detailed
12   allegations as to how the prior art e-commerce systems were not set-up or configured for pre-
13   customs administration and clearance before the goods were presented at customs, let alone before
14   they were even offered for sale, and suffered from the disadvantage where goods could be refused
15   entry at the border, causing a delay in delivery and logistics. FAC1, ¶¶4-5; Dkt. 37-1, (the ‘366
16   patent), 1:34-40. Such pre-clearance was simply not performed in the prior art – whether
17   manually or via a computer system.
18            Further, the allegations establish that in conventional, prior art cross-border e-commerce
19   systems, procedures for getting the purchased products through customs in the destination country
20   were carried out when the product arrived at the border, i.e., only after the customer had purchased
21   the product. FAC, ¶¶7-10. In such conventional systems, it would be impossible for a purchaser
22   to know whether a product could clear customs. With the recent growth of cross-border e-
23   commerce transactions, the prior art conventional methods created issues for consumers not
24   receiving their purchased products, sellers having to dispose of or retrieve products that were not
25   allowed through customs, and for customs authorities dealing with a large volume of shipments
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     with products to be reviewed for entry upon presentation. FAC, ¶¶11-13.
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         “FAC” references the First Amended Complaint, Docket No. 36.
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 1          C.      Patented Ecommerce Systems and Processes
 2          The patented invention recognizes the advantages in configuring systems and processes
 3   to accomplish the novel practice of pre-customs clearance in cross-border e-commerce
 4   transactions, particularly before the product is offered for sale to the consumer. FAC, ¶3. In
 5   particular, the patents-in-suit recite a novel system of connected e-commerce servers, user
 6   terminals, customs clearance authentication servers, and administration servers – all covering at
 7   least two economic zones – to request and receive pre-customs clearance information (including
 8   tariff information) and display such pre-customs clearance information along with corresponding
 9   product information at the time of sale or offer for sale. FAC, ¶¶ 14-17; Dkt. 37-1, the ‘336 patent,
10   1:50-2:6, 4:4-18, 8:45-60, 9:18-29. As explicitly alleged in the First Amended Complaint, this
11   novel system of interconnected servers – particularly the administration servers and the customs
12   clearance authentication servers – and the processes implemented thereby, were not well-
13   understood, routine, or conventional in the e-commerce industry prior to the invention of the
14   patents-in-suit, particularly as there were no servers or processes linking the e-commerce servers
15   to the customs authorities – thus providing a technical improvement in the field of e-commerce.
16   FAC ¶¶19-21.
17          When considering each claim is in its entirety, the claimed combination of servers, the
18   corresponding connectivity, and the functionality was not previously known, such that the same
19   cannot be said to be well-understood, routine, or conventional. Claims 1, 2, and 8 of the ‘366
20   patent each recite an administration server in conjunction with a customs clearance authentication
21   server that combine to automatically request and received pre-customs clearance from authorities
22   in a second economic zone, and notify that clearance to the e-commerce server such that it is
23   displayed with the product information at the time of sale. FAC ¶¶38-41. Claim 1 of the ‘644
24   patent recites a combination of administration and customs clearance authentication servers with
25   similar functionality as claim 1 of the ‘366 patent, along with providing confirmation of the pre-
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     customs clearance information to the customs terminal once the purchased product arrives at
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     customs and storing information about completion of customs processing.                 FAC ¶¶43-46.
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     Further, claims 1 and 9 of both the ‘027 and the ‘028 patents, each recite a similar combination

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 1   of administration and customs clearance authentication servers, as well as a plurality of non-
 2   transitory computer memory mediums, with similar functionality, along with providing
 3   confirmation of the pre-customs clearance information to the customs terminal once the purchased
 4   product arrives at customs and storing information about completion of customs processing. FAC
 5   ¶¶48-51 and 53-56.
 6          As detailed by the extensive factual allegations in the First Amended Complaint, the
 7   claims of the patents-in-suit reflect technological improvements in the configuration of servers
 8   and the handling of cross-border e-commerce over the conventional processes known at the time
 9   of invention, through a practical application of the recited limitations. With the additional servers
10   and processes, it is no longer necessary for the owners of each of a plurality of EC servers or
11   individual consumers to separately apply to customs authorities in other economic zones for
12   customs clearance with each transaction. In addition, with the implementation of the claimed
13   processes in the administration server and the customs clearance authentication server, it is not
14   necessary to send pre-customs clearance information to every e-commerce server. The process
15   of applying customs clearance information in the system is reduced, administrative maintenance
16   is centralized, and international ecommerce is simplified. These are not simply mental functions
17   that can be performed by an individual, particularly at the scope and in the volumes involved in
18   the cross-border e-commerce industry.
19          The patents-in-suit describe how the claimed inventions improve cross-border e-
20   commerce whereby “the purchaser or receiver of the product, and the like is spared the time and
21   effort of going to customs and carrying out custom procedures. Thus, customs clearance
22   processing is performed smoothly with no delays of logistics at customs. Also, when a product is
23   purchased, it is virtually guaranteed to pass through customs, and thus the user feels a sense of
24   relief knowing that the product will definitely arrive. Furthermore, the user can comprehend the
25   tariff rate in advance when purchasing a product, and thus can think about the product to be
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     purchased while giving consideration to the tariff.” See Dkt. 37-1, the ‘366 patent, 9:18-29.
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 1   III.   APPLICABLE LAW
 2          Plaintiff’s memorandum in response to the prior motion to dismiss thoroughly discussed
 3   the law applicable to motions to dismiss and generally the Alice test for determining patent
 4   eligibility. Plaintiff will not repeat that standard here. Over the years, the Federal Circuit has
 5   issued multiple decisions (discussed below) setting forth its interpretation and application of the
 6   Alice test and finding patent eligible subject matter, particularly in computer implementations of
 7   inventions, based on such implementations not being directed to abstract ideas and/or otherwise
 8   comprising an inventive concept.
 9   IV.    LEGAL DISCUSSION
10          As set forth in the following discussion, Plaintiff respectfully submits that the claims of
11   the patents-in-suit are not directed to an abstract idea, under the standard in Enfish. Further,
12   Plaintiff submits that the claims of the patents-in-suit are directed to an inventive concept such
13   that it is not necessary for the Court to consider whether the claims are directed to an abstract
14   idea, under the standard in DDR Holdings and similar cases.
15          A.      Plaintiff’s Patents-in-Suit Are Not Directed To An Abstract Idea
16                  1.      Enfish, LLC v. Microsoft Corp.
17          In Enfish, LLC v. Microsoft Corp., 822 F.3d 1327 (Fed. Cir. 2016), the Federal Circuit has
18   established that in order to consider whether a claim is directed to an abstract idea, the claim must
19   be considered as a whole, with the “focus” or “character” of the claim to be determined based on
20   an evaluation of the specification. Enfish, 822 F.3d at 1335-36 (“[T]he first step of the Alice
21   inquiry … asks whether the focus of the claims is on the specific asserted improvement in
22   computer capabilities … or, instead, on a process that that qualifies as an ‘abstract idea’ for which
23   computers are invoked merely as a tool.”)
24          The Federal Circuit cautioned against oversimplifying the recitation of the inventive
25   concept – “describing the claims at such a high level of abstraction and untethered from the
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     language of the claims all but ensures that the exceptions to §101 swallow the rule.” Id. at 1337-
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     38. Specific to the facts of Enfish, the Federal Circuit found that claims reciting a self-referential
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     table for a computer database were not directed to an abstract idea since they were directed to an

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 1   improvement in computer capabilities, as opposed to merely using the computers as a tool. Id. at
 2   1136. The Federal Circuit’s decision specifically found that the district court in Enfish had
 3   oversimplified the inventive concept of the claims. Id. 822 F.3d at 1337.
 4                  2.     The Claimed E-Commerce Invention Is Not An Abstract Idea
 5          Analogized to Enfish, the claims of the patents-in-suit recite specific elements directed to
 6   an improvement of e-commerce marketplace capabilities through the establishment of separate
 7   and novel computer servers – administrative, customs clearance authentication, e-commerce, and
 8   user terminals – which facilitate the offering for sale, sale, and delivery of goods from one
 9   economic zone and through customs of another economic zone. In much the same way that “the
10   self-referential table” of Enfish configured the computer memory to improve the computer
11   operation in the claims (Id. at 1136), the establishment and configuration of the administrative
12   and customs clearance authentication servers claimed in the patents-in-suit improve the operation
13   of the e-commerce marketplace, particularly the e-commerce server and user terminals.
14          To consider only the pre-customs clearance function of the claims of the patents-in-suit,
15   separate and apart from the claims as a whole, namely the establishment and configuration of the
16   administrative and customs clearance authentication servers and the order of claim elements, risks
17   the oversimplification cautioned in Enfish. Without exclusion of the overall claims, the same
18   recite at least the “administration server” that is connected to the “customs clearance
19   authentication server” and the “EC servers”, in such a manner that the pre-customs clearance
20   information is displayed together with the product information – clearly requiring that customs
21   clearance is completed before offering the product for sale.
22          As detailed above, the claimed system of servers and processes provide functionality for
23   obtaining pre-customs clearance, which clearance is displayed with the product information
24   before the products are even offered for sale to consumers, and provide more certainty that the
25   purchased products will be delivered to the buyer in another economic zone. Such certainty in
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     the retail transaction improves the operation and capabilities of the e-commerce servers and user
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     terminals. The overall improvement of the capabilities of the e-commerce marketplace is
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     achieved by the claimed combination of above-described servers and processes that are

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 1   specifically recited in the claims of the patents-in-suit and plead in the FAC at ¶¶38-41, 43-46,
 2   48-51, and 53-56.
 3          B.      Plaintiff’s Patents Are Directed To An Inventive Concept
 4                  1.      DDR Holdings, LLC v. Hotels.com
 5          In DDR Holdings, LLC v. Hotels.com, 773 F.3d 1245 (Fed. Cir. 2014), rather than
 6   specifically identifying an abstract idea, the Federal Circuit moved directly to the second part of
 7   the Alice test finding an inventive concept. The court in DDR Holdings found that claims
 8   addressing the manipulation of web pages were directed to an inventive concept because they
 9   “did not merely recite the performance of some business practice known from the pre-Internet
10   world along with the requirement to perform it on the Internet. Id. at 1258-59. The claims in
11   DDR Holdings were found to be “necessarily rooted in computer technology in order to overcome
12   a problem specifically arising in the realm of computer networks.” Id. Further, the court in DDR
13   Holdings distinguished the subject claims insofar as they specified how the interactions on the
14   Internet were manipulated to yield a desired result, which result overrides the routine and
15   conventional sequence of events – nor did they recite a commonplace business method aimed at
16   processing business information. Id. In DDR Holdings, the Federal circuit found that the subject
17   claims did not merely recite a longstanding commercial or business practice known from the pre-
18   Internet world along with the requirement to perform the practice on the Internet.
19          Similarly, the claims of the patents-in-suit do not recite a longstanding commercial or
20   business practice from the pre-e-commerce world. Indeed, in a pre-e-commerce world, before
21   they were offered for sale, retail goods were brought through customs in large quantities by the
22   seller and displayed for sale in physical brick-and-mortar locations or catalogs. Even in a post-e-
23   commerce world, retail goods would either (1) be brought through customs in large quantities by
24   the seller – prior to offering for sale – and then displayed on an e-commerce site, or (2) offered
25   for sale on an e-commerce site – without obtaining customs clearance – and the buyer would have
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     to count on bringing the product through customs on an individual basis. Whether in a pre- or
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     post- e-commerce world, the retail goods are not pre-approved before arriving at customs,
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     particularly for individual unit sales, or even before listing the goods for sale.

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 1          The claims of the patents-in-suit recite a system of servers and processes whereby the
 2   consumers can purchase individual retail goods knowing that the product has already been
 3   approved to clear customs so as to have greater certainty that the product would arrive. Such is
 4   not a mere recitation of a known business practice from the pre-e-commerce world (or even the
 5   post-e-commerce world) along with the requirement that it be performed using computers. The
 6   claims of the patents-in-suit recite a novel combination of computer servers and processes to
 7   achieve pre-customs clearance – a practice previously unknown in the e-commerce world.
 8                  2.      Bascom Global Internet Services, Inc. v. AT&T Mobility LLC and
 9                          Amdocs (Israel) Ltd. v. Openet Telecom, Inc.
10          The Federal Circuit in Bascom Global Internet Services, Inc. v. AT&T Mobility LLC, 827
11   F.3d 1341 (Fed. Cir. 2016) explains that an inventive concept can exist in the non-conventional
12   and non-generic arrangement of known, conventional elements, including in the ordered
13   combination thereof, while still recognizing that it must be more than the abstract idea as opposed
14   to simply being an instruction to use a computer. Id. at 1349. The Bascom court specifically
15   found that the ordered combination of claim limitations, i.e., non-conventional and non-generic
16   arrangement, transform the abstract idea of filtering website content into a particular, practical
17   application of the abstract idea. Id. at 1352.
18          In Amdocs (Israel) Ltd. v. Openet Telecom, Inc., 841 F.3d 1288 (Fed. Cir. 2016), the
19   Federal Circuit found that the patent claims were related to an abstract idea of using a database to
20   compile and report on network usage information, while finding that the claims recited an
21   inventive concept in the ordered combination of steps. Specifically, the Amdocs court found that
22   a distributed enhancement, i.e., processing records of network information close to their source,
23   was a critical enhancement over the prior art, which comprises an unconventional technological
24   solution to a technological problem using generic components. Id. at 1300-01.
25          In both Bascom and Amdocs, the Federal Circuit found that an inventive concept can still
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     be found in the assembly of known, conventional elements based on a non-conventional and non-
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     generic arrangement, i.e., an ordered combination. While the basic computer servers recited in
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     the claims of the patents-in-suit may be generally “known” or “conventional”, the operational and

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 1   process elements of the servers are not so “known” or “conventional” – particularly as to the
 2   ordered combination of those elements in e-commerce operations.                      As to the claimed
 3   administrative and customs clearance authentication servers, the claims introduce an ordered
 4   combination to the recited assembly of elements, similar to Bascom. Further, the claimed
 5   administrative and customs clearance authentication servers process the pre-customs clearance
 6   request and authorization within their local communication framework, i.e., close to the retail
 7   source, before listing the product for sale on the e-commerce server, similar to Amdocs.
 8                  3.      Aatrix Software v. Green Shades Software
 9          In Aatrix Software v. Green Shades Software, 882 F. 3d 1121 (Fed. Cir. 2018), the Federal
10   Circuit considered performing a §101 eligibility analysis under Rule 12(b)(6), finding that such
11   is only appropriate there are no factual allegations that when taken as true prevent resolving the
12   eligibility question as a matter of law. Id. at 1125. Specifically, the Federal Circuit confirmed
13   that a patentee who adequately alleges their claims contain inventive concepts survive a §101
14   eligibility analysis under Rule 12(b)(6). Id. at 1126-27; citing BASCOM, 827 F.3d at 1352.
15          The patentee in Aatrix was found to have presented a proposed amended complaint that
16   supplies numerous allegations related to the inventive concepts present in the claimed technology,
17   describing the development of the patented invention, including the problems present in the prior
18   art, and specific allegations directed to improvements and problems solved by the patented
19   invention. Id. at 1127. In the context of such analysis, the pleading of specific factual allegations
20   requires that the same involve more than the performance of well understood, routine, and
21   conventional activities previously known in the industry, and that there be no proper basis for
22   rejecting the allegations as a factual matter. Id. at 1128. Thus, specific factual allegations relating
23   to inventive concepts that amount to more than well-understood, routine, or conventional
24   activities previously known in the industry, are sufficient to survive a §101 eligibility analysis
25   under Rule 12(b)(6). Id. at 1126-28.
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 1                  4.      CosmoKey Solutions GmbH & Co. KG v. Duo Security LLC and
 2                          Cooperative Entertainment, Inc. v. Kollective Technology, Inc.
 3          In CosmoKey Solutions GmbH & Co. KG v. Duo Security LLC, 15 F.4th 1091 (Fed. Cir.
 4   2021), the Federal Circuit found it was not necessary to determine whether the claims presented
 5   an abstract idea, because the claims presented an inventive concept in which the claim steps were
 6   not conventional. Id. at 1098. In CosmoKey, the court considered a patented method for a
 7   computer-implemented authentication technique that was found to comprise an inventive concept
 8   because the patent specification described how the particular arrangement of steps was not
 9   conventional and was a technical improvement over conventional methods. Id. The Federal
10   Circuit found that there was nothing in the patents or elsewhere in the record that supported
11   finding the claim steps conventional. Id. The Federal Circuit found that the statements in the
12   subject patent distinguished the claimed invention from the prior art and that the patent
13   specification described how the arrangement of claim steps was a technical improvement over
14   conventional methods. Id.
15          In Cooperative Entertainment, Inc. v. Kollective Technology, Inc., 50 F.4th 127 (Fed. Cir.
16   2022), similar to CosmoKey, the Federal Circuit skipped the abstract idea analysis because it
17   specifically found that the patent claims presented an inventive concept. Id. at 131. More
18   importantly and also similar to CosmoKey, the court found that patent eligibility can only resolved
19   under Rule 12 if there are no plausible factual disputes after drawing all reasonable inferences
20   from the record in favor of the non-moving party. Id. at 130. In making this determination, the
21   court considered the claim language, the written description, and the amended complaint, as
22   describing the claimed arrangements of elements as being a technical improvement over the prior
23   art, so as to prohibit dismissal under Rule 12. Id. at 135-36.
24                  5.      The Claimed Invention Is Directed To An Inventive Concept
25          The patents-in-suit recite and the FAC specifically pleads computer servers, combined in
26
     particular combinations and sequences to perform particular processes, so as to improve
27
     efficiency of cross-border e-commerce transactions. See, FAC ¶¶38-41 (claims 1, 2 and 8 of the
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 1   ‘366 patent); FAC ¶¶43-46 (claim 1 of the ‘644 patent); FAC ¶¶48-51 (claims 1 and 9 of the ‘027
 2   patent); and FAC ¶¶53-56 (claims 1 and 9 of the ‘028 patent).
 3          As in DDR Holdings, the systems and processes of the claims of the patents-in-suit do not
 4   rely on known or long-standing practices to achieve pre-customs clearance for the individual sale
 5   of retail items rather than waiting to know about customs clearance until the item arrives at
 6   customs for the destination country. The claimed systems of servers and processes, in their
 7   entireties, specifically including the “administrative server” and “customs clearance
 8   authentication server” and how they function together to secure pre-customs clearance such that
 9   it is displayed with the product information in the offer of sale, are both claimed in the patents-
10   in-suit and plead in the FAC per the above.
11          As in Bascom and Amdocs, the systems and process of the claims of the patents-in-suit
12   recite an ordered combination of elements, i.e., securing pre-customs clearance before listing a
13   product for sale, in a manner that enhances cross-border e-commerce processing through
14   communications within its established network of servers. That ordered combination and
15   established network of servers relates to the requesting, receiving, and reporting of pre-customs
16   clearance before the products are listed for sale on the e-commerce servers are specifically
17   claimed in the patents-in-suit and plead in the FAC per the above.
18          As in Aatrix, the FAC in the instant case contains concrete allegations that the claim
19   elements and the claimed combination are not well-understood, routine, or conventional. The
20   FAC contains specific allegations regarding the prior art and disadvantages inherent therein (FAC
21   ¶¶4-5 and 7-12), the development of the invention claimed in the patents-in-suit (FAC ¶¶ 6 and
22   13), the inventive concepts present in the claimed technology (FAC ¶¶14-17), and specific
23   allegations directed to improvements and problems solved by the patented invention (FAC ¶¶18-
24   20). Under the standards set by the Federal Circuit in Aatrix, these allegations in the FAC cannot
25   be rejected as a factual matter under Rule 12(b)(6).
26          Similarly, as in both CosmoKey and Coop Ent., in the context of a Rule 12 motion, courts
27   must draw all favorable inferences in favor of the non-moving party, particularly as to factual
28   determinations to be made from the record. In the instant case, as detailed above, the FAC

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 1   contains concrete factual allegations supported by the claims of the patents-in-suit, that must be
 2   reasonably inferred in favor of Plaintiff and cannot be resolved otherwise in the context of a Rule
 3   12(b)(6) motion.
 4
 5          The overall improvement of the capabilities of the e-commerce marketplace is achieved
 6   by the claimed combination and order of servers and processes specifically recited in the claims
 7   of the patents-in-suit and plead in the FAC. The overall combination of the servers and processes
 8   claimed in the patents-in-suit, includes the “administration server” that is connected to the
 9   “customs clearance authentication server” and the “EC servers”, and executes the claimed
10   operational processes in such an ordered manner that the pre-customs clearance information is
11   displayed together with the product information – clearly requiring that customs clearance is
12   completed before offering the product for sale.
13          Based on the foregoing discussion, Plaintiff respectfully submits that the claims of the
14   patents-in-suit are (1) not directed to an abstract idea; and (2) recite an inventive concept.
15
16          C.      Sufficiency of Pleading Infringement Allegations
17          Courts determine whether a complaint states a cognizable legal theory and sufficient facts
18   with reference to Rule 8(a), which requires a “short and plain statement of the claim showing that
19   the pleader is entitled to relief.” A claim is facially plausible when the facts pled “allow[] the
20   court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”
21   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (alteration in original) (citing Bell Atlantic Corp. v.
22   Twombly, 550 U.S. 544, 556 (2007)). As covered in detail in the briefing of Defendants’ prior
23   motion to dismiss and consistent the FAC, Plaintiff’s allegations of direct patent infringement
24   plausibly present a prima facie claim. There is no clear, one-size fits all standard that applies to
25   all pleading, rather each inquiry should be performed on a case-by-case basis. See, e.g., Novitaz
26
     Inc. v. inMarket Media, LLC, 2017 WL 2311407, at *3 (N.D. Cal. May 26, 2017) (“How these
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     standards apply to allegations of direct patent infringement in the absence of Form 18 is still a
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     developing topic.”) The Novitaz court found that some inquiries may allow more generalized

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 1   allegations to be sufficient for the Court to plausibly infer that every claim element is satisfied by
 2   an accused instrumentality. Id.
 3          Plaintiff’s FAC extensively details the content of the prior art, the content of the patents-
 4   in-suit, and how details of publicly available information from Defendant’s e-commerce
 5   platforms read on the claims of those patents-in-suit. The claims charts (Dkt. Nos. 37-2, 37-4,
 6   37-6, 37-8) referenced in the FAC detail the correlation of the Defendants’ publicly available
 7   information to the claims limitations, i.e., how the Defendant’s e-commerce website operations
 8   read on the patent claims, to plausibly allege direct infringement under the applicable standard.
 9          The details of the allegations, particularly in the referenced claims charts, are Defendants’
10   own words, including from their “Cross-Border Supply Chains” and the “Commodity Link”
11   websites, explaining how their e-commerce platforms facilitate customs clearance of a sellers
12   products in a manner that improves customs clearance efficiency. For example:
13         Dkt. No. 37-2, p. 4: “A single-system of multiple entry, automatically generate a full set
14          of customs declaration information”;
15         Dkt. No. 37-2, pp. 9-11: “Real-time online tracking of customs declaration status”,
16          “Smarter second query for categorization More accurate international tariff calculation”,
17          “Calculation of Import Duties and Taxes for International Customs Destinations and
18          Customs Tariff Queries”;
19         Dkt. No. 37-2, pp. 12 and 16: “Unique logo displayed on search list to attract buyer’s
20          attention”, “The product details page reveals export data to prove trade strength”; and
21         Dkt. No. 37-2, p. 18: “Intelligence Customs Declaration Platform” and “Improve
22          Efficiency by 80%”.
23   Through these claim charts, Plaintiff’s FAC plausibly asserts using the publicly available
24   information how Defendants’ website and ecommerce services meet each and every limitation of
25   at least one claim of each Patent-In-Suit. See, e.g., Kawasaki Jukogyo Kabushiki Kaisha v. Rorze
26
     Corporation (N.D. Cal., June 15, 2023, No. 22-CV-04947-EJD) 2023 WL 7420648, at *3.
27
            In situations where details of an infringement are not publicly available, practically no
28
     plaintiff could ever meet the heightened standard advocated for by Defendants at this early stage.

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 1   Defendants’ website architecture and design are not laid-open to the public but are hidden in the
 2   programming of Defendants’ servers and behind password walls for sellers and operators.
 3   Plaintiff used the information that was publicly accessible to compile what it could into the
 4   detailed claim charts and present the current plausible allegations. Defendants’ website is not like
 5   a physical product or article of manufacture, that Plaintiff can purchase and disassemble, or
 6   otherwise reverse engineer.
 7                   1.      Plaintiff Has Sufficiently Pled Infringement in the United States
 8           In paragraph 30 of the FAC, Plaintiff plainly alleges that the Defendants “collectively
 9   owned, controlled and operated the websites at the URLs: www.alibaba.com (the “Alibaba
10   Website”) and www.aliexpress.com (the “AliExpress Website”), both accessible throughout the
11   United States and in this judicial district.” (Dkt 36-0, ¶30)(emphasis added) In paragraphs 58,
12   65, 72, and 79 of the FAC, Plaintiff defines and references the “Accused Instrumentalities” as
13   “the Alibaba Website and/or the AliExpress Website for facilitating [ecommerce] transactions
14   between at least two different economic zones”. (Dkt 36-0, ¶¶58, 65, 72, and 79) Further, in the
15   same and other paragraphs, through the Accused Instrumentalities, the FAC alleges that the
16   Defendants directly infringe the Patents-In-Suit “in the state of California, in this judicial district,
17   and elsewhere in the United States” by “making, using, providing, selling, offering for sale, and/or
18   importing into the United States products and services (or programs that provide the same) that
19   practice one or more of the inventions claimed in the [Patents-In-Suit], including but not limited
20   to Defendants’ computer systems for implementing the functionality described in [the claim
21   charts], including Defendants’ computer systems”. (Dkt 36-0, ¶¶58, 65, 72, and 79)
22                   2.      Plaintiff’s Claim Charts Plead the Presence of All Claim Limitations
23           The screenshots in the claim charts are enough to plausibly infer infringement. In making
24   their motion, Defendants’ literally describe contents of the claim charts that recite the bases for
25   such plausible inferences of meeting each of the subject claim limitations. Defendants advance a
26
     restrictive narrow reading of their website contents presented in the claims charts. From the claim
27
     charts, screenshots from Defendants’ websites clearly show “visualization of the whole process
28
     of customs clearance points”, “full visibility of customs declaration link”, or “tariff remittance”.

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 1   As the details of Defendants’ operations are contained in the software on their servers and behind
 2   passwords or other non-public sources, Plaintiff has pled what information was publicly available
 3   as this stage – enough to make a plausible inference of infringement.
 4
 5          D.      Plaintiff’s Complaint Adequately Pleads Willfulness
 6          Plaintiff’s FAC repeatedly alleges that Defendants’ direct infringement was knowing,
 7   intentional, and continuing – and requests enhanced damages for the same. (Dkt. 36 ¶¶61, 63, 68,
 8   70, 75, 77, 82, and 84) 24, 26; 31, 33; 38, 40; 45, and 47) The current standard requires that
 9   “knowledge of the patent and knowledge of infringement must be pled with plausibility.” Sonos,
10   Inc. v. Google LLC, (N.D. Cal. 2022) 591 F.Supp.3d 638, 643, leave to appeal denied (Fed. Cir.,
11   May 11, 2022, No. 2022- 134) 2022 WL 1486359. “[O]nce willfulness is adequately pled, the
12   complaint need not go further and specify the further aggravating circumstances warranting
13   enhanced damages”. Id. Plaintiff respectfully submits that these allegations of knowledge and
14   intent are enough to plausibly infer willfulness.
15
16   V.     CONCLUSION
17          Based upon the foregoing, Plaintiff respectfully submits that Defendant’s Motion to
18   Dismiss the First Amended Complaint be denied in its entirety.
19
20   Dated: October 16, 2024                                   By: /s/Michael A DiNardo
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